               Case 2:11-cr-00166-MCE Document 183 Filed 10/24/13 Page 1 of 3


     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4

 5
     Attorney for Defendant
     HUANCHANG MA
 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                        )       No. CR-S-11-166 MCE
                                                      )
                                                      )
10           Plaintiff,                               )       STIPULATION REGARDING
11
                                                      )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
                                                      )       FINDINGS
12
     HUANCHANG MA,                                    )
                                                      )       Date: December 12, 2013
13
                                                      )       Time: 9:00 a.m.
             Defendant.                               )       Judge: Honorable Morrison C. England, Jr.
14
                                                      )
                                                      )
15
                                                      )
16
             The United States of America through its undersigned counsel, Christiaan Highsmith,
17
     Assistant United States Attorney, together with counsel for defendant Huanchang Ma, John R.
18

19   Manning, Esq., hereby stipulate the following:

20        1. By previous order, this matter was set for status conference on October 24, 2013.
21
          2. By this stipulation, defendant now moves to continue status conference until December
22
     12, 2013 and to exclude time between October 24, 2013 and December 12, 2013 under the Local
23

24
     Code T-4 (to allow defense counsel time to prepare).

25        3. The parties agree and stipulate, and request the Court find the following:
26
             a. This case is one in a series of cases developed from a lengthy DEA/Elk Grove
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                 PD/Sac. SO investigation into “grow houses” in the Elk Grove area. Several
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      Case 2:11-cr-00166-MCE Document 183 Filed 10/24/13 Page 2 of 3


        individuals have been charged. Many, if not all the defendants a part of this
 1

 2      investigation are non English speakers and require the services of an interpreter to

 3      communicated with. The widespread need for Cantonese/Mandarin interpreters in
 4
        this case, the companion cases(s), and in general, has made scheduling meetings very
 5
        difficult. However, as this case is winding up, scheduling has become less difficult.
 6

 7
        To that end, the Defense has provided the Government with additional discovery and

 8      the Government needs to time to review the material and evaluate their next step.
 9   b. The Defense has proffered a proposed resolution to the Government and the
10
        Government needs additional time to review the settlement proposal. Additional
11
        meetings between counsel for Mr. Ma and the Government are necessary to discuss
12

13      the proposed resolution.

14   c. The Government does not object to the continuance.
15
     d. Based on the above-stated findings, the ends of justice served by granting the
16
        requested continuance outweigh the best interests of the public and the defendant in a
17
        speedy trial within the original date prescribed by the Speedy Trial Act.
18

19   e. For the purpose of computing time under the Speedy Trial Act, 18 United States Code

20      Section 3161(h)(7)(A) within which trial must commence, the time period of October
21
        24, 2013 to December 12, 2013, inclusive, is deemed excludable pursuant to 18
22
        United States Code Section 3161(h)(7)(A) ) and (B)(iv), corresponding to Local Code
23

24
        T-4 because it results from a continuance granted by the Court at defendant’s request

25      on the basis of the Court’s finding that the ends of justice served by taking such
26      action outweigh the best interest of the public and the defendant in a speedy trial.
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                                              2
               Case 2:11-cr-00166-MCE Document 183 Filed 10/24/13 Page 3 of 3


       4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the
 1

 2          Speedy Trial Act dictate that additional time periods are excludable from the period within

 3          which a trial must commence.
 4
     IT IS SO STIPULATED.
 5

 6
     Dated: October 16, 2013                                         /s/ John R. Manning
 7                                                                  JOHN R. MANNING
 8
                                                                    Attorney for Defendant
                                                                    Huanchang Ma
 9

10   Dated:                                                         Benjamin B. Wagner
11
                                                                    United States Attorney

12                                                                  by:/s/ Christiaan Highsmith
                                                                    CHRISTIAAN HIGHSMITH
13
                                                                    Assistant U.S. Attorney
14

15                                                 ORDER
16
              IT IS SO ORDERED.
17
     Dated: October 22, 2013
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